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                  EXHIBIT B-108
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                    IN THE SUPERIOR COURT OF FULTON COUNTY

                                      STATE OF GEORGIA


·INRE:                                         )
 SPECIAL PURPOSE GRAND JURY                    )       2022-EX-000024
                                               )
Witness:                                       )       Judge Robert C. I. McBurney
Stephen Cliffgard Lee                          )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUTTHE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO ..

       Upon the petition ofFani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal ofthis Court,

and further says as follows:
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       l. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

            by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

            Jury Pursuant to O.C.G.A. § 15-12-IQ0, et seq., "Exhibit A". The Special Purpose

            Grand Jury is authorize.dto investigate any and all facts and circumstances r~lating

            directly or indirectly to possible attempts to disrupt the lawful administration
                                                                                       .     of the .

            2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

            Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries t9 conduct both civil and
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            criminal investigations, the Special Purpose Grand Jury's investigation is criminal in
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            nature in that it was requested for the purpose of investigating driminal disruptions --
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            related to the 2020 elections in Georgia, and the Special Purpo~e Grand Jury is
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   authorized to make recommendations concerning criminal prosJcution. Further, the
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   authority for a special purpose grand jury to conduct a criminal ~nvestigation has been
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   upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

   Accordingly, the provisions of the Uniform Act to Secure the A ttendance of
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   Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

3. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Speciar Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that Stephen Cliffgard Lee, born

   October 25, 1952, (hereinafter, "the Witness") is a necessary and material witness to

   the Special Purpose Grand Jury's investigation. The Court further finds that the

   Witness currently resides in Yorkville, Kendall County, Illinois.

4. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that on or about December 21, 2021,

   Willie Lewis Floyd III, also known as Harrison William Prescott Floyd III, a former

   director of Black Voices for Trump, stated to Reuters that he was asked by a man

   described as a chaplain with federal law enforcement connections, to arrange a

   meeting with Ruby Freeman, a Fulton County election worker who had been publicly

   accused of committing election fraud by individuals known to be associated with the

   Trump Campaign. According to Floyd, the purpose of the meeting was to discuss a

   purported "immunity deal" with Freeman. Floyd then arranged;for Trevian Kutti, a
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   purported publicist based in Chicago, Illinois, to meet with Fre~man.
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5. Based on the representations made by the State in the attached "Petition for
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   Certification of Need for Testimony Before Special Purpose Gnµ1d Jury Pursuant to
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   O.C.G.A. § 24-13-90 et seq.", the Court finds on January 4, 202,1, Kutt1 stated to

   Freeman via-telephone that "an armed squad of federal" officer~ would "approach"

   Freeman and her family within 48 hours and that Kutti had access to "very high-

   profile people that can make particular things happen ... in order to defend yourself

   and your family." Kutti and Freeman then met at a Cobb County Police Department

   precinct, where Kutti made similar statements, indicating to Freeman that her

   "freedom ... and the freedom of one or more of your family members"_would be

   disrupted if Freeman declined her assistance and that Freeman was "a loose end for a

   party that needs to tidy up." Kutti also stated her intent to connect Freeman with

   Floyd, referring to him as "a Black progressive crisis manager, very high level, with

   authoritative powers to get you protection that you need." After making these

   statements, Kutti made a lengthy telephone call to Floyd on speakerphone so that he

   could join the conversation with Freeman. During the course of the telephone

   conversation, in the presence of Floyd, Freeman was pressured to reveal information

   under the threat of incarceration if she did not comply. All of these statements were

   captured on police body worn camera footage reviewed by the District Attorney.

6. Based on the representations made by the State in the attached ~'Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that based on information received by

   the District Attorney through collateral interviews, the Witnes~ was identified as the
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   person responsible for asking Floyd to arrange the meeting witJ Freeman in order to
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   facilitate these conversations.
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7. Based on the representations made by the State in the attached 'jPetition for
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   Certification of Need for Testimony Before Special Purpose Gr~d Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that the District Attorney has reviewed

   documents obtained by the Special Purpose Grand Jury that demonstrate that the

   Witness personally spoke to both Floyd and Kutti multiple time,s via telephone

   between January 4, 2021, and January 5, 2021. This information corroborates the

   information received through collateral interviews identifying the Witness as the

   person responsible for asking Floyd to arrange the meeting with Freeman.

8. Based on the representations made by the State in the attached "Petition for

   Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that the District Attorney has also

   reviewed police body worn camera footage from December 15, 2020, which shows

   that the Witness personally came to Freeman's home in Cobb County, Georgia, which

   frightened her and caused her to call 911 approximately three times for police

   assistance. In the footage, the Witness admitted that he knocked 6n the door of

   Freeman's home in order to provide "pro bona service" to her, then left for a short
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   period of time, and returned sometime later which prompted Freeman to call 911.

9. Based on the representations made by the State in the attached '.'Petition for
                                                                    '
   Certification of Need for Testimony Before Special Purpose G~and Jury Pursuant to

   O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on the
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   information set forth above, is a necessary and material witnes~. The Witness
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    possesses unique knowledge concerning communications betwtn himself and other

    known and unknown individuals involved in the multi-state, coordinated efforts to
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    influence the results-of the November 2020 election in Georgia ~d elsewhere.
                                                                        I
    Finally, the Witness's anticipated testimony is essential in that it is likely to reveal
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    additional sources of information regarding the subject of this investigation.

10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, November 10, 2022, at 9:00 a.m, at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance With O.C.G.A. §24-13-

    90 et seq.

 13. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travei, for any matters
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    which arose before the Witness's
                             •
                                     entrance into this State and other
                                                                    I
                                                                        states, while

    traveling to and from this Court for the purpose of testifying foJ this case .•
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       14..The State of Georgia is a participant in a reciprocal program providing for the

            securing of witnesses to testify in foreign jurisdictions which li!ewise
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                                                                                     provide for

            such methods of securing witnesses to testify in their courts.

       15. This Certificate is made for the purpose of being presented to a dudge of the Circuit
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                                                       .                     I            .
            Court of Kendall County, Illinois, by the State's Attorney for ~endall County,

            Illinois, or his duly authorized representative, who is proceeding at the request and on

            behalf of the Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,·

       This the   J_    day of October, 2022.




                                                     "Hon. Robert C. I. Mc       cy
                                                      Superior Court of Fulton County •
                                                      Atlanta Judicial Circuit
                                                      State of Georgia
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                    Exhibit A




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                                                    I   -
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                   IN THE SUPEJRIOR COURT OF FULTON COUNTY
                              A'fiLANTAJUD!CilALCIRCUIT                       ,..·J)'I,,   _;::;-v;--,;,..1,l··,,...,~,
                                   STATE OFGEORGIA                            ,:-:<L,::,L,A. uf\ UJV           ·~     •
                                                              •._-:tjMD                    IN OFFICE
IN RE: REQUEST FOR
        SPECIAL PURJPOSE                                           Y
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        GRA..NDJURY                                               L .. ._ _ _;_..,;..
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               ORDER APPROV1ING
                              lREQUiESTFOR SPECIALPURPOSE
               GRAND JURY PURSUAl~T TO O.C.G.A. &15-12-100,et sea.
                                                                                                  0
       The DistrictAttorney for the Atlanta Judicial Circuitsubmittedto the judges of the

Superior Court of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IO0(b).

       IT [S THEREFOREORDEREDthat a special purposegrandjury be drawn and

impaneledto serve as providedin O.C.G.A. § 15-12-62.l, 15-12-67, and 15-12-100, to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shallnot include any time periods when the supervising judge detemrines that the s_peciai

purpose grandjury cannotmeet for safety or other reasons, or any time periods whennormal

court operationsare suspendedby orderof the Supreme Courtof Georgiaor the Chief Judgeof

the Superior Court The special purposegrandjury shallbe authorized to investigate any and all

facts and circumstancesrelatingdirectlyor indirectly to alleged violationsof the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

        Pursuant to O.C.G.A. § 15-12-101(a), the Honorable Robert C. I. McBurney is hereby

assignedto superviseand assist the specialpurposegrandjury, and shall charge said special

purpos~ grandjury and receive its reports as provided by law.
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       This authorization shall include tbeinvestigation of any overt acts orlpredicate acts

relating to the subject of the special purpose grand jury's investigative purpJse. The special
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purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-
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71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grand jury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.




                                                                          ,2022.




                                CHR!STOPRER.
                                          S. BRASHER;GHIEFJUDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                       Exhibit B
        Case 1:23-cv-03721-SCJ Document 1-119 Filed 08/21/23 Page 12 of 13


                     OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                     ATLANTAJUDICLAL
                                                 CIRCUIT                       I
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                                      ATLANTA,GEORGIA 0.,03
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DistrictAttorney                                !v -..r:"--'<:"                 !
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    The Honorable Christopher S. Brasher
    Chief Judge, Fulton County Superior Court                                   FILED IN OFFICE
    Fulton County Courthouse                                                                           JJ ,
    185 Central Avenue SW, Suite T-8905
    Atlanta, Georgia 30303

    January 20, 2022

    Dear Chief Judge Brasher:

    I hope this letter finds you well and in good spirits. Please be advised that the District Attorney's
    Officehas received information indicating a reasonableprobability that the State of Georgia's
    administration of elections in 2020, including the State's electio11of the President of the United
    States, was subject to possible criminal disruptions.Our office has also learned that individuals
    associated with these disruptions have contacted other agencies empowered to investigate this
    matter, including the Georgia Secretary of State, the Georgia Attorney Ge:o.eral,and the United
    States Attorney's Office for the Northern District of Georgia,leaving thls office as the sole
    agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
    result, our office has opened an investigation into any coordinatedattempts to unlawfully alter
    the outcome of the 2020 elections in this state.

    We ha1e made efforts to interview multiple witnesses and gather evidence, and a significant
    number of witnesses and prospective witnesses have refused to cooperate with the investigation
    absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
    Brad Raffensperger, an essential witness to the investigation,has indicated that he will not
    participate in an interview or otherwise offer evidence until he is presented,with a subpoena by
    my office. Please see Exhibit A, attached to this letter.

    Therefore, I am hereby requesting, as the elected.DistrictAttorney for Fulton County, pursuant
    to 0.C.G.A.§ 15-12-100 et. seq., that a special purpose grandjury be impa.neledfor the purpose
    of investigatingthe facts and circumstances relating directly or indirectly tq possible attempts to
    disruptt,he lawful administration of the 2020 elections in the State of Georgia. Specifically, a
    special plll'pose grand jury, which will not have the authority to return an i#dictment but may
    make recommendations concerning criminal prosecution as it shall see fit, ~sneeded for three
    reasons: first, a special purpose grand jury can be impaneled by the Court fbr any time period
    required in order to accomplish its investigation, which will likely exceed a normal grandjury
           Case 1:23-cv-03721-SCJ Document 1-119 Filed 08/21/23 Page 13 of 13




      term;second, the special purpose grandjurywouldbe empowered to revi~wthis matterandthis
      matte,ronly, with an investigatory focus appropriateto the complexity of the facts and
      circumstances involved; and third, the sitting grandjury would not be required to attempt to
      address this matter in addition to their normal duties.                   \
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     Additionally,
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                   I am requesting that, pursuant to O.C.G.A. § iS-12-101, a Fulton
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                                                                                     County Superior
     Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
     invest~gationand duties.

      I have attached a proposed order impaneling the special purpose grand jury for the consideration
      of the Court.

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      _fiistrict Attorney, Atlanta Judicial Circuit

      Exhibit A: Transcript of October 31, 2021 episode of }.;feetthe Press on NBC News at 26:04
      (video archived at https://www.youtube.com/watch?v=B71cBRPgt9k)
      Exhibit B: ProposedOrder

     cc:
     The Honorable K.ii-nberlyM. Esmond Adams
     The Honorable Jane C. Barwick
     The Honorable Rachelle Carnesdale
     The Horiorable Thomas A. Cox, Jr.
     Th.eHonorable Eric Dunaway
     The Honorable Charles M. Eaton, Jr.
     The Honorable Belinda E. Edwards
     The Honorable Kelly Lee Ellerbe
     The Honorable Kev:inM. Farmer
     The Honorable Ural Glanville
     The Honorable Shakura L. Ingram
     The Honorable Rachel R. Krause
     The Honorable Melynee Leftridge
     The Honorable Robert C.I. ivfoBurney
     The Honorable Henry M. N ewk.irk
     The Honorable Emily K. Richardson
     The Honorable Craig L. Schwall, Sr.
     The Honorable Paige Reese Whitaker
     The Honorable Shermela J. \Villiams
     Fulton County Clerk of Superior Court Cathelene 'Tina" Robinson
